Case 2:05-cr-80810-LPZ-MKM ECF No. 603, PageID.7416 Filed 01/29/13 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Case No. 05-80810
v.                                                         Hon. Lawrence P. Zatkoff

D-11, RAMANDO WELLONS,

       Defendant.
                                          /


                                   OPINION AND ORDER

                           AT A SESSION of said Court, held in the
                      United States Courthouse, in the City of Port Huron,
                      State of Michigan, on the 29TH day of January, 2013

                      PRESENT:       THE HONORABLE LAWRENCE P. ZATKOFF
                                     UNITED STATES DISTRICT JUDGE


                                     I. INTRODUCTION

       On December 12, 2006, Defendant was sentenced to 37 months imprisonment and three

years supervised release. Although the record is not clear when Defendant’s supervised release

term was scheduled to expire, there is no dispute that the events described below occurred during

Defendant’s term of supervised release.

       On November 27, 2011, Detroit Police Department (“DPD”) Officer Leo Rhodes swore

to an affidavit in support of a search warrant of a house on Elmira Street in Detroit. The next

day, on November 28, 2011, officers executed that warrant and found, among other things, over

2,000 grams of marijuana, a digital scale, a .22 caliber handgun, and Defendant (who had

possession of almost $1,000 in cash). Defendant, after waiving his Miranda rights, gave a
Case 2:05-cr-80810-LPZ-MKM ECF No. 603, PageID.7417 Filed 01/29/13 Page 2 of 5




written statement admitting that the marijuana and gun were his. The case was presented to and

accepted by the Wayne County Prosecutor’s office for prosecution.

       On August 15, 2012, the Court received from the U.S. Probation Office a Violation

Report and Petition for Summons regarding Defendant. Therein, it is alleged that Defendant

violated six conditions of his supervised release, all of which stem from his alleged possession of

the marijuana and firearm on November 28, 2011, and his failure to report such conduct to his

probation officer. The Court scheduled a supervised release hearing, which government counsel

and Defendant, appearing in pro per, attended. The Court adjourned the supervised release

hearing in order to have counsel appointed for Defendant.

       In the meantime, Defendant’s attorney in the Wayne County Circuit Court case filed a

motion to suppress, arguing that the search warrant affidavit was not supported by probable

cause and that the good faith exception did not apply because the affidavit was so lacking in

indicia of probable cause that belief in its existence was not reasonable. As this Court recently

learned, the Wayne County Circuit Court judge granted Defendant’s motion to suppress the

evidence and dismissed that case.

       Based on a disagreement among the parties as to whether this Court could consider, for

purposes of Defendant’s alleged supervised release violation, the evidence suppressed by the

Wayne County Circuit Court judge, the Court ordered the parties to brief the issue of whether

this Court can consider the evidence that the state court suppressed. The parties have fully

briefed the issue.




                                                2
Case 2:05-cr-80810-LPZ-MKM ECF No. 603, PageID.7418 Filed 01/29/13 Page 3 of 5




                                         II. ANALYSIS

       The law in the Sixth Circuit appears to be well-established on this issue. Even if the state

court judge was correct, the exclusionary rule would not apply here. In United States v. Farmer,

512 F.2d 160, 161-162 (6th Cir. 1975), the defendant was on probation when the FBI executed a

search warrant at his house and found him with gambling paraphernalia. At his probation

violation hearing, the district court judge denied his request to suppress the evidence. Id. at 162.

The Sixth Circuit affirmed, first noting that, at a probation hearing, “the defendant is not

endowed with all of the rights which he possessed prior to conviction.” Id. The Sixth Circuit

agreed with those other circuits that did “not appl[y] the Fourth Amendment in revocation

proceedings.” Id. at 162-163 (citing cases).

       Significantly, the decision in Farmer has been extended to the supervised release context.

For example, in United States v. Blackshear, 1 F.3d 1242 (6th Cir. 1993) (unpublished), the

court declined to apply the exclusionary rule to evidence that was obtained during the execution

of a search warrant and rejected the defendants’ request to revisit the rule of Farmer because of

alleged differences between supervised release and probation. Id. See also United States v.

Montez, 952 F.2d 854 (5th Cir.1992).

       Defendant has not pointed to any case that applies the exclusionary rule to supervised

release hearings. Defendant instead relies on two cases, INS v. Lopez-Mendoza, 468 U.S. 1032

(1984), and Oliva-Ramos v. Attorney General of the United States, 694 F.3d 259 (3rd Cir. 2012),

for the proposition that “the exclusionary rule is allowed in federal administrative proceedings

… if the evidence was obtained as a result of an egregious constitutional violation.” The

Supreme Court in Lopez-Mendoza did not, however, find that the exclusionary rule applied in

that case; rather, it found that the exclusionary rule did not apply in that matter, an appeal from a

                                                 3
Case 2:05-cr-80810-LPZ-MKM ECF No. 603, PageID.7419 Filed 01/29/13 Page 4 of 5




civil deportation hearing. Lopez-Mendoza, 468 U.S. at 1050-51. Subsequently, some courts, such

as the Third Circuit in Oliva-Ramos, have seized on dicta in the Lopez-Mendoza opinion (i.e., the

pronouncement that the Supreme Court was “not deal[ing] … with egregious violations of

Fourth Amendment or other liberties that might transgress notions of fundamental fairness and

undermine the probative value of the evidence obtained,” Lopez-Mendoza, 468 U.S. at 1050-51)

and found the exclusionary rule does apply in some “egregious” situations.

       The Sixth Circuit, however, has not adopted the Third Circuit’s interpretation of Lopez-

Mendoza or otherwise applied the exclusionary rule in this context. Cf. Miguel v. I.N.S., 359 F.3d

408, 411 n.3 (6th Cir. 2004) (noting that “[t]he Supreme Court in Lopez-Mendoza … appeared to

leave open the possibility that the exclusionary rule might apply in cases involving ‘egregious

violations’ of the Fourth Amendment” but not ruling on the issue because “even a favorable

ruling for [the alien] on her motion to suppress would not change her established removability”).

Thus, Defendant has not even cited any binding authority that the exclusionary rule applies in

the immigration context.

       Finally, the Court notes that, even if Defendant was facing a criminal prosecution, the

Court would not be bound by the Wayne County Circuit Court judge’s determinations about the

constitutionality of the search warrant affidavit or the application of the exclusionary rule. See,

e.g., Manley v. Paramount's Kings Island, No. 07-4539, 2008 WL 4764121, at *6 (6th Cir. Nov.

3, 2008) (explaining that a state court's determination of no probable cause to arrest is not

binding on a federal court).

       Accordingly, and for the reasons set forth above, the Court concludes that the

exclusionary rule does not apply in the context of a supervised release violation hearing. As

such, evidence associated with the November 28, 2011, search of the house on Elmira Street and

                                                4
Case 2:05-cr-80810-LPZ-MKM ECF No. 603, PageID.7420 Filed 01/29/13 Page 5 of 5




Defendant’s written statement may be considered in conjunction with the supervised release

conditions Defendant is alleged to have violated.



                                     III. CONCLUSION

       For the reasons set forth above, the Court shall hold the supervised release violation

hearing on January 31, 2013, at 10:30 a.m., as previously scheduled.

       IT IS SO ORDERED.

                                                     S/Lawrence P. Zatkoff
                                                    LAWRENCE P. ZATKOFF
                                                    UNITED STATES DISTRICT JUDGE
Dated: January 29, 2013




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